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                                                      Attachment 1



                                                 METADATA FIELDS

                                                                                             Hard    E-    Other
Field name           Field Description                        Field Type   Field Value
                                                                                             Copy   mail    ESI
                     Custodian(s)/Source(s) - format:
CUSTODIAN
                     Last, First or ABC Dept.
                                                              Text                     160    x      x      x
AUTHOR               Creator of the document                  Text                     500                  x
                     Start Bates (including prefix) - No
BEGDOC#
                     spaces
                                                              Text                     60     x      x      x
                     End Bates (including prefix) - No
ENDDOC#
                     spaces
                                                              Text                     60     x      x      x
PGCOUNT              Page Count                               Number                    10    x      x      x
                     Contains the Group Identifier for the
GROUPID              family, in order to group e-mails with   Text                     60            x      x
                     their attachments

                     Contains the Document Identifier of
PARENTID
                     an attachment’s parent
                                                              Text                     60            x      x

                     Child document list; Child DOCID or      Text –
ATTACHIDS            Child Start Bates                        semicolon        Unlimited      x      x      x
                                                              delimited
                     List of Attachment Bates numbers         Text –
ATTACHLIST                                                    semicolon        Unlimited             x      x
                                                              delimited
                     Start Bates number of parent
BEGATTACH
                     document in attachment range
                                                              Text                     60     x             x
                     End Bates number of last attachment
ENDATTACH
                     in attachment range
                                                              Text                     60     x      x      x
                     Identifies whether the document
REDACTIONS
                     contains redactions.
                                                              Boolean                   10    x      x      x
RECORD TYPE          Use the following choices: Image,
                     Loose E-mail, E-mail, E-Doc,
                     Attachment, Hard Copy or Other. If       Text                     60     x      x      x
                     using Other, please specify what type
                     after Other
                     Author - format: Last name, First
FROM
                     name
                                                              Text                     160           x      x
                                                              Text –
                     Recipient- format: Last name, First
TO
                     name
                                                              semicolon    Unlimited                 x      x
                                                              delimited
                                                              Text –
                     Carbon Copy Recipients - format:
CC
                     Last name, First name
                                                              semicolon    Unlimited                 x      x
                                                              delimited
                                                              Text –
                     Blind Carbon Copy Recipients -
BCC
                     format: Last name, First name
                                                              semicolon    Unlimited                 x      x
                                                              delimited
SUBJECT              Subject/Document Title                   Text         Unlimited                 x      x



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                      E-mail system ID used to track
CONVINDEX             replies, forwards, etc.                    Text            Unlimited            x

                      Last Modified Date for files and Sent                      MM/DD/YYYY
                      date for e-mail, this field inherits the
DOCDATE
                      date for attachments from their
                                                                 Date                                 x   x
                      parent.
                      Relative file path of the text file
                      associated with either the extracted       Text            Unlimited        x   x   x
                      text or the OCR
TEXT FILEPATH
                      Date Sent (Use Time Zone of                                MM/DD/YYYY
DATE TIME SENT
                      Collection Locality)
                                                                 Date and Time
                                                                                 HH:MM:SS
                                                                                                      x
                      Date Created (Use Time Zone of                             MM/DD/YYYY
DATE TIME CRTD
                      Collection Locality)
                                                                 Date and Time
                                                                                 HH:MM:SS
                                                                                                      x   x
                      Date Last Modified (Use Time Zone                          MM/DD/YYYY
DATE TIME MOD
                      of Collection Locality)
                                                                 Date and Time
                                                                                 HH:MM:SS
                                                                                                      x   x
                      Date Accessed (Use Time Zone of                            MM/DD/YYYY
DATE TIME ACCD
                      Collection Locality)
                                                                 Date and Time
                                                                                 HH:MM:SS
                                                                                                      x   x
FILE SIZE             Native File Size in bytes                  Number                      10           x
                      File name - name of file as it
FILE NAME
                      appeared in its original location
                                                                 Text            Unlimited                x
                      Extension for the file (e.g. .doc, .pdf,
FILE EXTENSION
                      .wpd)
                                                                 Text                        10       x   x
                      Data’s original source full folder path
FILEPATH                                                         Text            Unlimited            x   x
                      Relative file path location to the
NATIVE LINK
                      native file
                                                                 Text            Unlimited            x   x
FOLDER ID             Hard Copy container information
                      (e.g. folder or binder name)               Text            Unlimited        x

                      MD5 Hash value (used for
                      deduplication or other processing)
MD5 HASH
                      (e-mail hash values must be run with
                                                                 Text            Unlimited            x   x
                      the e-mail and all of its attachments)




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